  8:14-cr-00288-JFB-TDT         Doc # 14    Filed: 09/17/14    Page 1 of 1 - Page ID # 26




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )                 8:14CR288
                     Plaintiff,                )
                                               )
       vs.                                     )                   ORDER
                                               )
HANS SCHROEDER,                                )
                                               )
                     Defendant.                )


       This matter is before the court on the oral motion of the government for an extension
of the discovery deadline and pretrial motion deadline. The motion was made during the
arraignment on the Indictment on September 17, 2014. The defendant, Hans Schroeder,
acknowledged the additional time needed for the motion would be excluded under the
calculations under the Speedy Trial Act. The oral motion was granted.


       IT IS ORDERED:
       1.     The motion for an extension of time is granted. Discovery shall be completed
on or before October 8, 2014. The parties shall have to on or before October 23, 2014,
in which to file pretrial motions in accordance with the progression order.
       2.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., from September 17, 2014, and October 23,
2014, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason counsel require additional time to adequately prepare
the case, taking into consideration due diligence of counsel, and the novelty and complexity
of this case. The failure to grant additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 17th day of September, 2014.


                                                   BY THE COURT:
                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
